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                     IN THE UNITED STA'T'ES BANKRUPTCY COURT

                             FOR THE DISTRICT OF DELAWARF_,



In re:                                                     ) Chapter 11

TINTRI,INC.,i                                              ) Case No.: 18-11625(KJC)

                                    Debtor.                ) Re: Docket No. 11


            ORDER (I) AUTHORIZING AND APPROVING THE
     DEBTOR'S KEY EMPLOYES R~T~NTION PROGRAM FOR CERTAIN
     NON-INSIDER EMPLOYEES AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the "Motion")2 of the above-captioned debtor and

debtor in possession (the "Debtors")for entry of an order (this "Order"): (i) authorizing

and approving the Debtor's Key Employee Retention Program ("KERP")as described in

the Motion; and (ii) granting related relief; and upon the First Day Declaration and the

Supplemental Declaration of Robert J. Duffy in support of the Motion [D.I. --]; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Oder ofRefe~~ence from the United States District Court for the

District of Delaware, dated February 29, 2012; and this Court having found that this is a

care proceeding pursuant to 23 U.S.C. § 157(b)(2), and that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the


' The Debtor and the last four digits of its taxpayer identification numbers are (6978): The headquarters
and service address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.

~ Capitalized terms used, but not otherwise defined herein, have the meanings ascribed to them in the
Motion.


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Motion. is in the best interests of the Debtor's estate, its creditors, and other parties in

interes9:; and this Court having found that the Debtor's notice of the Motion and

opportunity for a hearing on the Motion were appropriate and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in

support of the relief requested therein at a hearing before this Court(the "Hearing"); and

this Court having determined that the legal and factual bases set forth in the Motion and

at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

                        The Motion is granted as set forth herein.

                2.      The KERP is approved in its entirety.

                3.      The fifth paragraph on page 2 of the KERP,attached as Exhibit 2

to the Motion, is revised and restated as follows:

                except as provided herein, payments under the KERP will be in lieu of
                any other performance bonus, retention, or severance compensation
                otherwise payable to the Eligible Employees by the Company, pursuant to
                including under any prepetition bonus plan, offer letter, or employment
                agreement between the Eligible Employee and the Company.

                4.      The Debtor is authorized, but not directed, to implement the KERP

as described in the Motion, including by malting payments to or on behalf of the Eligible

Employees at the times and in the amounts specified in the Motion.

                        Any payment actually made by the Debtor to or on behalf of any

Eligible Employee pursuant to the KERP approved herein shall be final and shall not be

subject to disgorgement.
               6.     Notwithstanding anything to the contrary contained herein, any

payment made or to be made under this Order, any authorization contained in this Order,

or any claim for which payment is authorized hereunder, shall be subject to any orders of

this Court approving any debtor in possession financing for, or any use of cash collateral

by, the Debtors, and any documents providing for such debtor in possession financing

and. the budget governing such debtor in possession financing and use of cash collateral.

               7.     The terms and conditions of this Order shall be immediately

effective and enforceable upon its entry.

                       The Debtor is authorized to take all actions necessary to effectuate

the relief granted in this Order in accordance with the Motion.

               9.      This Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement ofthis Order.

Dated: August       ,2018

                                              Honorable Kevin J. Carey
                                              United States Bankruptcy Judge
